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                              5
                                   Attorneys for Plaintiff
                              6    ST LIBERTY, LLC
                              7
                                                       UNITED STATES DISTRICT COURT
                              8
                                                     CENTRAL DISTRICT OF CALIFORNIA
                              9

                              10
                                   ST LIBERTY, LLC,                       )         Case No.: 8:18-cv-00096-DOC-
                              11                                          )         JDEx
                                                                          )
                              12                      Plaintiff,          )         IN ADMIRALTY
                                                                          )
                              13         v.                               )         PLAINTIFF ST LIBERTY,
                                                                          )         LLC’S NOTICE OF MOTION
                              14                                          )         & MOTION FOR
                                   That Certain 38’ Fountain Power Boat, )          INTERLOCUTORY SALE;
                              15   2008 Express Cruiser Model, Official   )         MEMORANDUM OF
                                   No. 1229074, at one time named         )         POINTS AND
                              16   “BRINLEY GREYSON,” its Engines, )                AUTHORITIES
                                   Tackle, Machinery, Furniture, Apparel, )
                              17   Appurtenances, etc., In Rem, and DOES )          Supp. F.R.C. P. E(9)(a)(i)
                                   1-10.                                  )         LAR E.15 (83-E.9)
                              18                                          )
                                                                          )         Date: 9/17/18
                              19                      Defendants.         )         Time: 8:30 a.m.
                                   ___________________________________              Place: Courtroom 9D
                              20   _________________________
                              21         TO DEFENDANTS, CLAIMANTS TO THE VESSEL, ALL OTHER

                              22   INTERESTED PARTIES, AND THEIR RESPECTIVE ATTORNEYS OF

                              23   RECORD:

                              24         PLEASE TAKE NOTICE that on September 17, 2018, at 8:30 a.m., or

                              25   as soon thereafter at the Court’s convenience, in Courtroom 9D, before the
   COX, WOOTTON,
  LERNER, GRIFFIN &
     HANSEN LLP
                              26   Honorable David O. Carter, located at the United States Courthouse, 411 West
900 FRONT STREET, SUITE 350
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      TEL: 415-438-4600
                              27   Fourth Street, Santa Ana, CA, 92701, 9th Floor, Plaintiff ST LIBERTY, LLC
      FAX: 415-438-4601



                              28   (“Plaintiff”) will apply for an order authorizing the interlocutory sale of the in
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                              1    rem Defendant vessel, That Certain 38’ Fountain Power Boat, 2008 Express
                              2    Cruiser Model, Official No. 806696, at one time named “BRINLEY
                              3    GREYSON” her engines, tackle, machinery, furniture, apparel, appurtenances,
                              4    etc. (“Vessel”).
                              5          This application is made pursuant to Rule E(9)(a)(i) of the
                              6    Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture
                              7    Actions and Local Admiralty Rule E.15 on the grounds that: (1) the Vessel’s
                              8    value is diminishing and will continue to diminish during the continued arrest;
                              9    (2) the expense of keeping the Vessel under arrest and the care of the
                              10   substitute custodian is excessive and disproportionate to its value; and (3)
                              11   there has been an unreasonable delay in securing the release of the vessel.
                              12         Prior to this filing, Marc T. Cefalu, counsel for Plaintiff discussed with
                              13   the pro per defendant representative, Darrell Hallett, and counsel for lien
                              14   claimant Grace Park Avenue, LLC, whether the parties could reach an
                              15   agreement regarding the disposition of the Vessel without the need for filing
                              16   this Motion. Although counsel for Grace Park Avenue, LLC, is agreeable to
                              17   this motion and the interlocutory sale of the Vessel, the Vessel’s purported
                              18   representative, Darrell Hallett was not. .
                              19         This Motion is based on this Notice, the supporting Memorandum of
                              20   Points & Authorities, the attached declarations of Marc T. Cefalu, Alan
                              21   Swimmer, and F. Lee Frain, Jr., and attached exhibits, the pleadings, records,
                              22   and file hereto, and such other and further evidence as may be presented at the
                              23   hearing of this matter.
                              24
                                   Dated: August 14, 2018                   COX, WOOTTON, LERNER,
   COX, WOOTTON,
                              25                                            GRIFFIN & HANSEN, LLP
  LERNER, GRIFFIN &
     HANSEN LLP
                                                                            Attorneys for Plaintiff
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                              26                                            ST LIBERTY, LLC
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            94111
      TEL: 415-438-4600
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                              27                                        By: ___/S/ Marc T. Cefalu____________
                                                                                 Marc T. Cefalu
    STL.Hallett / 4641
                              28

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                              1                 MEMORANDUM OF POINTS & AUTHORITIES
                              2           Pursuant to Rule E(9)(a)(i) of the Supplemental Federal Rules of Civil
                              3    Procedure for Admiralty or Maritime Claims and Asset Forfeiture Actions
                              4    (“Supp. Rules”), Plaintiff applies to this Court for an order authorizing the
                              5    interlocutory sale of the defendant Vessel, That Certain 38’ Fountain Power
                              6    Boat, 2008 Express Cruiser Model, Official No. 806696, at one time named
                              7    “BRINLEY GREYSON”, and such other further relief as set forth below.
                              8    I.     SUMMARY OF RELEVANT FACTS
                              9         A. The Parties
                              10          Plaintiff is a lending institution organized and existing under the laws
                              11   of the State of Florida, with its principal place of business in Ft. Lauderdale,
                              12   Florida. In rem defendant Vessel, at one time known as “BRINLEY
                              13   GREYSON,” Official No. 1229074, Hull No. FGQ8E111H708, is a 2008
                              14   Fountain Power Boats Express Cruiser model, 38 feet in length, constructed of
                              15   fiberglass, propelled gasoline power, is and was, at all times mentioned
                              16   herein, a documented vessel under a Certificate of Documentation issued by
                              17   the United States Coast Guard with its home port designated as Newport
                              18   Beach, California (hereinafter “Vessel” of “Defendant”). The vessel’s
                              19   registered owner is Hallett Company LLC (“HCLLC”).
                              20        B. Plaintiff ST Liberty LLC’s First Preferred Ship Mortgage
                              21          The following summary is set forth in the Plaintiff’s Complaint, filed on
                              22   January 18, 2018.
                              23          On or around July 25, 2016, HCLLC executed a Note, Disclosure and
                              24   Security Agreement (the “Note”) along with an Addendum of the Note in
                              25   favor of Plaintiff to secure certain financing which was secured by the
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                              26   Defendant Vessel (the Note and the Addendum to Note shall collectively be
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      FAX: 415-438-4601
                              27   referred to as the “Security Agreement”). See Declaration of Alan Swimmer

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                              28   (“Swimmer Dec.”) at ¶ 2 and EXHIBIT 1.

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                              1          Under the terms of the Security Agreement, Plaintiff agreed to loan
                              2    HCLLC the principal amount of $78,000 (Seventy Eight Thousand Dollars
                              3    and No Cents) at a fixed annual interest rate of 17.99% (the “Indebtedness”)
                              4    for an equity take-out loan against the Vessel in exchange for, among other
                              5    things, HCLLC’s agreement to make monthly payments of $1,980.26 for 60
                              6    months to Plaintiff. Swimmer Dec., ¶ 3. The Security Agreement also
                              7    provided that, upon default, Plaintiff would be entitled to its reasonable
                              8    attorneys’ fees and costs incurred in collecting, enforcing or protecting
                              9    Plaintiff’s rights and remedies under the various loan agreement(s). Swimmer
                              10   Dec., ¶ 4.
                              11         In order to secure payment of the Indebtedness, HCLLC executed and
                              12   delivered to Plaintiff, in accordance with and pursuant to the laws of the
                              13   United States, a First Preferred Ship Mortgage covering the Vessel along with
                              14   a Power of Attorney (collectively the “Mortgage”). See Swimmer Decl. at ¶ 5
                              15   and EXHIBIT 2. Thereafter, Plaintiff caused the Mortgage to be duly
                              16   recorded with the U.S. Coast Guard’s National Vessel Documentation Center.
                              17   Plaintiff has not waived its status as a mortgagee under the Mortgage. All
                              18   other requirements of the laws of the United States relating to preferred ship
                              19   mortgages were duly met or were caused to be met by Plaintiff. The
                              20   Indebtedness of the Security Agreement, as secured by the Mortgage on the
                              21   Vessel, is a valid preferred ship mortgage lien on the Vessel. Swimmer Dec. ¶
                              22   6.
                              23         As set forth in the Complaint, HCLLC defaulted on its obligations to
                              24   timely make the agreed periodic payments on the Indebtedness under the
                              25   Security Agreement in accordance with the terms thereof. The last payment
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                              26   on the Indebtedness was made by HCLLC in November 2017. No further
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                              27   payments have been received by Plaintiff, and payments are past due from the

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                              28   November 2017 payment date to present. Swimmer Dec. ¶ 7. As of July 25,

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                              1    2018 the amount of the Indebtedness due and owing to Plaintiff is
                              2    $122,861.04, including principal and interest, together with late fees and
                              3    prepayment penalty, costs and attorneys’ fees. Interest continues to accrue on
                              4    the unpaid principal sum at the contract penalty rate of 24.99% per annum,
                              5    which rate became the effective rate upon HCLLC’s default on its obligations
                              6    under the Security Agreement. Swimmer Dec., ¶ 8.
                              7        C. Procedural Status
                              8             On January 18, 2018, Plaintiff filed this lawsuit. On April 21, 2018,
                              9    pursuant to a duly-issued Warrant of Arrest and as ordered by the Court, the
                              10   United States Marshal (“Marshal”) arrested the defendant Vessel within the
                              11   District (after significant expenses associated with locating and keeping
                              12   surveillance on the Vessel as it had been removed from the location required
                              13   in the Mortgage). Immediately thereafter, the Marshal turned over custody of
                              14   the Vessel to National Maritime Services, Inc., the duly-appointed Substitute
                              15   Custodian. Since then, the Substitute Custodian has maintained the custody
                              16   and safekeeping of the Vessel. The Vessel is currently located within the
                              17   Court’s jurisdiction at an undisclosed location1. Cefalu Dec., ¶ 2. However,
                              18   as it sits in custody, it is exposed to the environment and therefore subject to
                              19   deterioration, decay or injury. See Declaration of F. Lee Frain Jr. (“Frain
                              20   Dec”), ¶¶ 4-6.
                              21            Pursuant to LAR C.3, Plaintiff caused to be published on May 2, 2018,
                              22   a Notice of Arrest of Vessel in The Los Angeles Daily Journal. Cefalu Dec., ¶
                              23   3. As required, a copy of the Proof of Publication was duly filed with this
                              24   Court on May 7, 2018.
                              25            On May 14, 2018, Darrel Hallett on behalf of HCLLC, filed an Answer
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                              26   to Plaintiff’s Complaint. HCLLC has not made any attempt to secure the
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                              27

                              28   1 The location of the Vessel is not being disclosed at this time to avoid any potential unlawful attempt to remove
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                                   the Vessel from the Substitute Custodian’s possession, as threatened by Hallett.

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                              1    release of the Vessel since its arrest. HCLLC has not moved to vacate the
                              2    arrest, nor has it posted any bond or other security, entered into any
                              3    stipulation, or otherwise attempted to secure the release of the Vessel under
                              4    Supp. Rule E(5). Cefalu Dec., ¶4.
                              5          On May 22, 2018, a Notice of Lien was filed in this action by Grace
                              6    Park Avenue, LLC (“Grace Park”). However, because Plaintiff’s lien is a
                              7    maritime lien it should be considered a prior lien with priority over Grace
                              8    Park’s non-maritime lien claim. The Grace Park lien can be addressed after
                              9    the requested sale of the Vessel. Given that both Plaintiff and Grace Park
                              10   share a common goal to have the Vessel sold immediately, in order to
                              11   maximize potential sale funds, it would appear to be in the best interests of
                              12   these parties for this request to be granted.
                              13         Plaintiff has already incurred at least $17,047 in custodial expenses
                              14   with the Substitute Custodian. The continuing arrest and custody of the
                              15   Vessel will necessarily require Plaintiff to incur further and on-going
                              16   expenses for the Substitute Custodian’s safekeeping of the Vessel at
                              17   approximately $85.76/day. Swimmer Dec., ¶ 9. Furthermore, while the
                              18   Vessel is sitting in custody it is exposed to the marine environment and
                              19   subject to deterioration that requires periodic maintenance and repair services
                              20   normally associated with the safekeeping of vessels similar in size and nature
                              21   to this Vessel. Frain Dec., ¶ 4-6. Plaintiff is paying the Substitute Custodian
                              22   directly for its fees, expenses, and charges related to the custody and care of
                              23   the Vessel. Swimmer Dec., ¶10. All such amounts are reasonable and
                              24   deemed to be custodia legis fees and expenses of the U.S. Marshal under 28
                              25   U.S.C. §1921.
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                              26         The Vessel’s “Fair Market Value” was recently appraised at $125,000.
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                              27   However, if it were to be sold at auction it would likely be sold for a lower

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                              28   price. Frain Dec., ¶ 3.

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                              1          D. Additional Expenses Required to Maintain the Vessel in Custody
                              2            In addition to the costs set forth above, there are further costs necessary
                              3    to maintain the Vessel under arrest. Insurance adequate to respond in
                              4    damages for loss or injury to the Vessel, or for damage sustained by third
                              5    parties due to any acts, faults, or negligence of the Substitute Custodian, is
                              6    being provided through the U.S. Marshal’s standard open insurance cover.
                              7    The premiums are being deducted from the funds Plaintiff as required to
                              8    deposit with the U.S. Marshal as a condition for arresting the Vessel.
                              9    Swimmer Dec., ¶11. The cost of such insurance is also deemed to be a
                              10   custodia legis expense of the United States Marshal under 28 U.S.C. §1921.
                              11   See, e.g., CGI Finance, Inc. v. Take 5, 2013 U.S. Dist. LEXIS 26141, *7
                              12   (D.Haw. 2013).
                              13           Additionally, the Substitute Custodian has full hull and machinery and
                              14   protection and indemnity insurance covering the Vessel while it is under arrest
                              15   and in custody. The monthly insurance premium is being paid by Plaintiff
                              16   directly to the substitute custodian (Swimmer Dec., ¶12), which expense is
                              17   deemed to be a custodia legis expense under 28 U.S.C. §1921. See, e.g., CGI
                              18   Finance, supra.
                              19   II.     LEGAL ANALYSIS
                              20           An interlocutory sale of the Vessel is appropriate under these
                              21   circumstances and as provided for in Supp. Rule E(9)(a)(i). That statute
                              22   provides that arrested property may be sold and the proceeds paid into court to
                              23   satisfy any judgment and to await further order of the court if any one of the
                              24   following three conditions are satisfied:
                              25           (A)   the Vessel is liable to deterioration, decay, or injury while under
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                              26                 arrest;
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                              27           (B)   the expense of keeping the Vessel under arrest is excessive or

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                              28                 disproportionate; or

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                              1           (C)   there is an unreasonable delay in securing the release of the
                              2                 Vessel.
                              3    Merchants Nat’l. Bank of Mobile v. Dredge General G.I. Gillespie, 663 F.2d
                              4    1338, 1341 (5th Cir. 1081); AmericanWest Bank v. P/V INDIAN, 2013 U.S.
                              5    Dist. LEXIS 28607, *5 (Cal. S.D. 2013); Silver Star Enters., Inc. v. M/V
                              6    SARAMACCA, 19 F.3d 1008, 1014 (5th Cir. 1994).
                              7           In this case, all three conditions warranting an interlocutory sale are
                              8    satisfied.
                              9       A. The Vessel Is Subject To Deterioration, Decay, And Injury
                              10          The Vessel, as it sits atop the hard, is subject to the wear and tear
                              11   associated with exposure to the environment and, as a result, requires periodic
                              12   maintenance and upkeep to maintain it in a seaworthy and marketable
                              13   condition. Without a professional crew to constantly maintain and upkeep the
                              14   Vessel, it will continue to deteriorate, which will further diminish its value
                              15   and accelerate its depreciation. Frain Dec., ¶ 4-6.
                              16      B. The Custodial Costs Are Disproportionate And Excessive
                              17          Plaintiff has already incurred at least $17,047 in custodia legis expenses
                              18   charged by the Substitute Custodian for the safekeeping of the Vessel
                              19   following its arrest in April, 2018. The Vessel is currently incurring further
                              20   per diem custodial charges of at least $85.76, or more than approximately
                              21   $2,572.80 per month/$31,000 annually. These custodia legis expenses create
                              22   a lien on the Vessel with higher priority than Plaintiff’s mortgage. 46 U.S.C.
                              23   § 31326; J. P. Provos Maritime, S. A. v. M/V Agni, 1999 U.S. Dist. LEXIS
                              24   12012, *5 (E.D. La. 1999). Therefore, they will be disbursed first from any
                              25   sale proceeds and will thereby decrease the amount from which Plaintiff may
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                              26   ultimately recover on its security interest in the Vessel.
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                              27          Given the Vessel’s fair market value at $125,000.00, the custodia legis

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                              28   expenses have already amounted to at least 13% of the Vessel’s value. These

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                              1    expenses continue to mount at a rate approximating over two percent of the
                              2    Vessel’s value per month. Furthermore, even if the vessel were sold for its
                              3    fair market value of $125,000.00 Plaintiff would still likely suffer a
                              4    deficiency. Under the existing scenario, Plaintiff respectfully submits that
                              5    these expenses are excessive and disproportionate.
                              6       C. There Has Been An Unreasonable Delay In Releasing The Vessel
                              7          The Defendant has not taken any steps to secure the release of the
                              8    Vessel since it was arrested April 21, 2018. This delay of more than three
                              9    months (presumably four months by the time this motion is heard) is
                              10   unreasonable and should entitle Plaintiff to an interlocutory sale.
                              11   AmericaWest Bank, supra, 2013 U.S. Dist. LEXIS 28607 at *9 – 10 (delay of
                              12   over four months unreasonable); Vineyard Bank v. M/Y ELIZABETH I, 2009
                              13   U.S. Dist. LEXIS 23844, *6 (S.D. Cal. 2009) (same); Bank of Rio Vista,
                              14   supra, 2004 U.S. Dist. LEXIS at *5 (same, and citing United States v. F/V
                              15   Fortune, 1987 A.M.C. 2351 (D. Ak.1987), Ferrous Financial Services Co. v.
                              16   O/S Arctic Producer, 567 F. Supp. 400 (W.D. Wash 1983)).
                              17         An appropriate and timely order from this Court granting an
                              18   interlocutory sale as soon as is reasonable is necessary to forestall the Vessel’s
                              19   continued depreciation and increasing expenses as it sits under arrest. The
                              20   longer it remains under arrest, the longer it will continue to drain, not only
                              21   Plaintiff’s resources, but the amount from which Plaintiff might ultimately
                              22   recover on its claims after an interlocutory sale. Furthermore, the longer the
                              23   Vessel remains in custody, the greater the potential that Plaintiff’s priority
                              24   security interests will be prejudiced by a higher priority lien, or fire, or other
                              25   damage to the Vessel.
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                              26         Therefore, Plaintiff respectfully submits that the requirements of Supp.
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                              27   Rule E(9)(a)(i) have been met and an interlocutory sale is warranted.

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                              28

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                              1          D. Request For Further Relief
                              2            If the Court grants the instant motion, Plaintiff requests the following
                              3    further relief:
                              4            1. that, pursuant to LAR E.15 (b), and subject to its requirements, at the
                              5               interlocutory sale of the Vessel, Plaintiff shall be entitled to credit
                              6               bid up to the full amount of its security interest in the Vessel;
                              7            2. that the Marshal be authorized and ordered to conduct an
                              8               interlocutory admiralty sale of the defendant Vessel at the earliest
                              9               date available to the Marshal after consulting with the Plaintiff to
                              10              ensure that the parties have a sufficient opportunity to market the
                              11              Vessel appropriately before the sale in order to ensure that it will
                              12              attract a reasonable number of potential buyers.
                              13   III.    CONCLUSION
                              14           As set forth more fully above, the Vessel is currently under arrest within
                              15   the District and in the custody of the duly-appointed Substitute Custodian.
                              16   The Vessel continues to be exposed to on-going deterioration from the marine
                              17   environment. The Vessel has already incurred over $17,047 in custodia legis
                              18   expenses and those expenses continue to mount at over $2,572.80 per
                              19   month/$31,000 annually. These out-of-pocket expenses will be reimbursed
                              20   first from any sale proceeds and therefore continue to diminish the amount
                              21   Plaintiff may ultimately recover on its security interest in the Vessel as the
                              22   result of an interlocutory sale. Furthermore, the owner has not made any
                              23   efforts to release the Vessel since its arrest over three months ago.
                              24   ///
                              25   ///
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     HANSEN LLP
                              26   ///
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                              28   ///

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                              1          For these reasons, Plaintiff respectfully requests that the Court grant its
                              2    motion for an interlocutory sale of the Vessel under Supplemental Rule E
                              3    (9)(a)(i) and such other further relief as requested above.
                              4
                                   Dated: August 14, 2018                   COX, WOOTTON, LERNER,
                              5                                             GRIFFIN & HANSEN, LLP
                                                                            Attorneys for Plaintiff
                              6                                             ST LIBERTY, LLC
                              7
                                                                        By: ___/S/ Marc T. Cefalu____________
                              8
                                                                                 Marc T. Cefalu
                              9

                              10

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                              24

   COX, WOOTTON,
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  LERNER, GRIFFIN &
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                                   PLAINTIFF’S NOTICE OF MOTION & MOTION FOR INTERLOCUTORY SALE . . .
